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UNITED STATES DISTRICT COURT                                                   MINUTE ENTRY FOR A CRIMINAL PROCEEDING
EASTERN DISTRICT OF NEW YORK                                                   ☐ SEALED PROCEEDING

BEFORE:            ____________________________________
                   Judge Joanna Seybert
DATE:              _____________
                     11/5/2021
TIME:              _____________
                      3:00 PM       ____ (Hrs.) ____
                                                 35 (Mins.)
DOCKET:            ___-____-______
                   21 cr 0452 (_____)(_____)
                                     JS     SIL
TITLE:             USA v. _____________________________
                          Leonardi, et. al.

APPEARANCES:
DEFENDANT: _______________________________
             Willie Junior Maxwell II        Deft. # ____
                                                      3    COUNSEL: _______________________________________
                                                                     Elizabeth Macedonio
☐
✔Present ☐ Not Present ☐
                       ✔In Custody ☐ On Bond ☐ Surrendered ☐
                                                           ✔Retained ☐ Federal Defender ☐ CJA ☐ _____________

DEFENDANT: _______________________________ Deft. # ____ COUNSEL: _______________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered ☐ Retained ☐ Federal Defender ☐ CJA ☐ _____________

DEFENDANT: _______________________________ Deft. # ____ COUNSEL: _______________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered ☐ Retained ☐ Federal Defender ☐ CJA ☐ _____________

DEFENDANT: _______________________________ Deft. # ____ COUNSEL: _______________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered ☐ Retained ☐ Federal Defender ☐ CJA ☐ _____________

GOVERNMENT: _______________________________________
            Christopher Caffarone and Jacob Kubetz                             COURT REPORTER: ______________________________
                                                                                               Lisa Schmid

PROBATION/PRETRIAL: _______________________________                            FTR TIME: _______________________________________

INTERPRETER: _______________________________________                           COURTROOM DEPUTY: __________________________
                                                                                                 Eric Russo
     Language: _________________________

☐ SEE ADDITIONAL APPEARANCES PAGE


I. THE FOLLOWING PROCEEDINGS WERE HELD:
    ☐ Arraignment                                                    ☐   Motion Hearing/Oral Argument
    ☐
    ✔ Bond Application/Modification Hearing                          ☐   Plea Hearing
    ☐ Curcio Hearing                                                 ☐   Preliminary Hearing
    ☐ Detention Hearing                                              ☐   Sentencing/Re-Sentencing
    ☐ Evidentiary Hearing                                            ☐   Status/Pre-Trial Conference
    ☐ Fatico Hearing                                                 ☐   Other: ________________________________________________
    ☐ Initial Appearance

☐
✔ The following proceedings were held regarding the charges outlined in the: Superseding
                                                                             ____________________________________________.
                                                                                         Indictment (S-1) filed on 9/29/2021

☐ Arraignment held.
   ☐ Initial appearance of defendant ____________ before this Court.
   ☐ A Waiver of Indictment was filed as to defendant ____________.
   ☐ Defendant ____________ waived the public reading of the above charging instrument.
   ☐ Defendant ____________ was read and understood the charges outlined in the charging instrument.
   ☐ Defendant ____________ entered a plea of not guilty to all counts of the above charging instrument.
   ☐ Defendant ____________ waived the right to a Preliminary Hearing.
   ☐ Defendant ____________ did not waive the right to a Preliminary Hearing.
   ☐ Defendant ____________ waived Speedy Trial from ____________ to ____________.
   ☐ Defendant ____________ did not waive Speedy Trial.
   ☐ The Court ordered Speedy Trial waived from ____________ to ____________ as to defendant ____________.
   ☐ The Government was advised of, and acknowledged, its obligation under Rule 5(f) of the F.R.Cr.P. and the Due Process
      Protections Act to disclose all information to the defendant(s) and their counsel. The Court will issue a written order.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.
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☐ Preliminary Hearing held.
   ☐ Witness(es) (☐ for the Government; ☐ for the defense) called and sworn; testimony given.
   ☐ Exhibits were entered into evidence.
   ☐ The Court found that there is probable cause to believe that an offense had been committed by the defendant.
   ☐ The Court found that there is no probable cause to believe that an offense had been committed by the defendant and that the
       charge(s) outlined in the above charging instrument are dismissed, and the defendant is discharged.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Curcio Hearing held.
   ☐ Parties arguments were heard.
   ☐ The defendant was informed of the potential danger(s) arising from any conflict(s) of interest.
   ☐ The defendant understood and waived any potential conflict(s) of interest and wishes to proceed with current counsel.
   ☐ The defendant wishes to relieve current counsel and retain new counsel or have new counsel appointed by the Court.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Status/Pre-Trial Conference held.
   ☐ The parties advised the Court of the status of the case.
   ☐ Defendant ____________ waived Speedy Trial from ____________ to ____________.
   ☐ Defendant ____________ did not waive Speedy Trial.
   ☐ The Court ordered Speedy Trial waived from ____________ to ____________ as to defendant ____________.
   ☐ The parties agreed to the following briefing schedule:
       ☐ Government Motion due by:          ____________                ☐ Defendant Motion due by:          ____________
       ☐ Defendant Response due by:         ____________                ☐ Government Response due by: ____________
       ☐ Government Reply due by:           ____________                ☐ Defendant Reply due by:           ____________
   ☐ The parties were directed to file a proposed briefing schedule for court approval on or before ____________.
   ☐ The Court respectively refers the motion(s) to Magistrate Judge ____________________:
       ☐ for purposes of submitting a Report and Recommendation for this Court’s consideration.
       ☐ to rule on the motion(s) in its entirety.
   ☐ The Court deemed this case ready for trial.
   ☐ The parties were directed to file their pre-trial motion(s) in accordance with the following briefing schedule:
       ☐ Motion(s) due by:                  ____________
       ☐ Response(s) due by:                ____________
       ☐ Reply(ies) due by:                 ____________
       ☐ Fully briefed motion(s) due by: ____________
   ☐ The parties were directed to file their proposed ☐ voir dire by ____________; ☐ request to charge by ____________.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Motion Hearing/Oral Argument held regarding __________________________________________________________________.
  ☐ Parties arguments were heard.
  ☐ Witness(es) (☐ for the Government; ☐ for the defense) called and sworn; testimony given.
  ☐ Exhibits were entered into evidence.
  ☐ The motion was ☐ granted; ☐ denied; ☐ granted, in part, and denied, in part.
  ☐ The decision was ☐ entered on the record; ☐ reserved.
  ☐ The Court will issue a written decision.
  ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Evidentiary Hearing held.
   ☐ Parties arguments were heard.
   ☐ Witness(es) (☐ for the Government; ☐ for the defense) called and sworn; testimony given.
   ☐ Exhibits were entered into evidence.
   ☐ The decision was ☐ entered on the record; ☐ reserved.
   ☐ The Court will issue a written decision.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

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☐ Plea Hearing held.
   ☐ The defendant was sworn and informed of the constitutional rights being waived when pleading guilty.
   ☐ The defendant withdrew previously entered not guilty plea and entered a plea of guilty to count(s) ____________________.
   ☐ The Court found that (1) the defendant is acting voluntarily, (2) the defendant fully understands the rights and the
       consequences of the plea, (3) there is a factual basis for the plea, and (4) the defendant’s plea of guilty is accepted.
   ☐ A Preliminary Order of Forfeiture was executed.
   ☐ The Conviction Notification Form was executed and sent to the US Probation Department.
   ☐ Parties waived the preparation of the Presentence Investigation Report.
   ☐ Sentencing was held immediately following the defendant’s guilty plea.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Fatico Hearing held.
   ☐ Parties arguments were heard.
   ☐ Witness(es) (☐ for the Government; ☐ for the defense) called and sworn; testimony given.
   ☐ Exhibits were entered into evidence.
   ☐ The decision was ☐ entered on the record; ☐ reserved.
   ☐ The Court will issue a written decision.
   ☐ Sentencing was held immediately following the hearing.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Sentencing/Re-Sentencing held on count(s) ____________________ of the above charging instrument.
   ☐ Statements were heard from ☐ defense counsel; ☐ the defendant; ☐ the Government; ☐ victim(s).
   ☐ The defendant was sentenced to be imprisoned for a total term of:
       ☐ ____________ ☐ months; ☐ years.
           ☐ The Time Served Order was executed.
       ☐ Upon release from imprisonment, the defendant shall be on supervised release for a total term of:
           ☐ ____________ ☐ months; ☐ years.
           ☐ The defendant shall comply with all standard conditions of supervision.
           ☐ The defendant shall comply with all special conditions of supervision outlined on the record.
       ☐ The Court did not impose a term of supervised release.
   ☐ The defendant was sentenced to probation for a total term of:
       ☐ ____________ ☐ months; ☐ years.
       ☐ The defendant shall comply with all standard conditions of supervision.
       ☐ The defendant shall comply with all special conditions of supervision outlined on the record.
   ☐ The defendant must pay the following criminal monetary penalties:
       ☐ Restitution in the amount of:                        $________________________.
       ☐ A fine in the amount of:                             $________________________.
       ☐ A Special Assessment fine in the amount of:          $____________, due immediately.
       ☐ The defendant must pay interest on the restitution and/or fine ordered of more than $2,500.00.
       ☐ The Court determined that the defendant does not have the ability to pay interest and it was ordered that:
           ☐ the interest requirement is waived.
           ☐ the interest requirement is modified as stated on the record.
   ☐ Restitution ☐ was not ordered; ☐ was not applicable; ☐ was paid in full.
   ☐ A fine ☐ was not ordered; ☐ was not applicable; ☐ was paid in full.
   ☐ The Special Assessment fine ☐ was not ordered; ☐ was not applicable; ☐ was paid in full.
   ☐ The determination of the restitution and/or fine was deferred until ____________.
   ☐ All other conditions shall remain in effect as outlined in the previous judgment dated ____________.
   ☐ The defendant ☐ was advised of the right to appeal; ☐ has waived the right to appeal.
   ☐ The Preliminary Order of Forfeiture dated ____________ was adopted as the Final Order of Forfeiture.
   ☐ A Final Order of Forfeiture was executed.
   ☐ All open counts in the charging instrument(s) were dismissed on the motion of the United States.
   ☐ See section III other sentencing conditions ordered.


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II. THE FOLLOWING RULINGS WERE MADE REGARDING DEFENDANT RELEASE STATUS:

☐
✔ Bond Application/Bond Modification/Detention Hearing held.
   ☐ Defendant ____________ did not present a bond application to the Court.
      ☐ An Order of Detention was executed as to defendant ____________.
      ☐ An Order Scheduling a Detention Hearing was executed as to defendant ____________.
   ☐
   ✔ The bond application/modification was granted as to defendant ____________.
                                                                              3
      ☐ An Order Setting Conditions of Release and Bond was executed as to defendant ____________.
       ✔                                                                                           3
      ☐ Defendant ____________ condition(s) of release were modified as stated on the record.
          ☐ An amended Order Setting Conditions of Release and Bond was executed as to defendant ____________.
   ☐ The bond application/modification was denied as to defendant ____________.
      ☐ An Order of Detention was executed as to defendant ____________.
   ☐ The Government moved for immediate detention of defendant ____________.
      ☐ The motion was ☐ granted; ☐ denied; ☐ granted, in part, and denied, in part.
          ☐ An Arrest Warrant was executed as to defendant ____________.
          ☐ An Order of Detention was executed as to defendant ____________.
          ☐ An amended Order Setting Conditions of Release and Bond was executed as to defendant ____________.
   ☐ The decision was reserved.
      ☐ An Arrest Warrant was executed as to defendant ____________.
      ☐ An Order Scheduling a Detention Hearing was executed as to defendant ____________.
      ☐ A temporary Order Setting Conditions of Release and Bond was executed as to defendant ____________.
   ☐ A Medical Evaluation Order was executed as to defendant ____________.
   ☐ See sections III and/or IV for additional details and/or the scheduling of further proceedings.

☐ Defendant ____________ remain(s) in custody.
   ☐ A Medical Evaluation Order was executed as to defendant ____________.

☐ Defendant ____________ remain(s) on bond.

☐ The defendant was granted leave to surrender for the service of the sentence at the institution designated by the Federal Bureau
  of Prisons before 2:00 PM on ____________. The defendant will remain on bond, under the supervision of Pretrial Services, until
  the set surrender date.
    ☐ The US Marshals Voluntary Surrender form was executed.

☐ The defendant was directed to report to the US Probation Department. The defendant will remain on bond, under the supervision of
  the US Probation Department, with the conditions set forth on the record until the completion of the ordered term of probation.

☐ The defendant, being sentenced to time served, shall be released forthwith pending the appropriate release procedures.




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III. OTHER RULINGS MADE DURING THE PROCEEDINGS:

☐ The parties moved to seal the record of the proceedings and that application was granted. Transcripts of this proceeding can be
  made available to the Court, defendant/defense counsel, and the Government only.

☐ Other:




IV. THE FOLLOWING PROCEEDINGS WERE SET:

☐ No further conferences or hearings have been set at this time.
☐ See below for conference/hearing dates set.
☐ Bond Application Hearing set for: ____________ at __________ before _________________________, courtroom __________.
☐ Bond Modification Hearing set for: ____________ at __________ before _________________________, courtroom __________.
☐ Curcio Hearing set for:               ____________ at __________ before _________________________, courtroom __________.
☐ Detention Hearing set for:            ____________ at __________ before _________________________, courtroom __________.
☐ Evidentiary Hearing set for:          ____________ at __________ before _________________________, courtroom __________.
☐ Fatico Hearing set for:               ____________ at __________ before _________________________, courtroom __________.
☐ Jury Selection set for:               ____________ at __________ before _________________________, courtroom __________.
☐ Jury Trial set for:                   ____________ at __________ before _________________________, courtroom __________.
☐ Motion Hearing/Oral Argument set for: ____________ at __________ before _________________________, courtroom __________.
☐ Plea Hearing set for:                 ____________ at __________ before _________________________, courtroom __________.
☐ Preliminary Hearing set for:          ____________ at __________ before _________________________, courtroom __________.
☐ Re-Sentencing set for:                ____________ at __________ before _________________________, courtroom __________.
☐ Sentencing set for:                   ____________ at __________ before _________________________, courtroom __________.
☐
✔ Status Conference set for:            ____________
                                         11/24/2021 at __________
                                                         10:30 AM before _________________________,
                                                                             Judge Joanna Seybert    courtroom __________.
                                                                                                                see below

☐
✔ Other/Special Instructions regarding conferences/hearings set:
     - The conference will be held via the Court’s teleconferencing system. Parties are directed to dial the following
    telephone number at the designated time: 877-336-1839, access code 7231185.




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